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                         DECLARATION OF ANNE M. MANGIARDI

        1, Anne M. Mangiardi , hereby certify as follows:

         I.      I am an associate of the firm of Kelley Drye & Warren LLP, which is located at

101 Park Avenue, New York, New York 10178.

        2.       1 have been admitted to practice before the following courts on the dates

indicated:

                                                                          DATE ADMITTED

State of New York                                                             10/22/07




        3.       1 am an attorney in good standing and eligible to practice in the above-referenced

jurisdiction.

        4.       1 have not been suspended or disbarred in any jurisdiction , and no disciplinary

actions are pending against me.

        5.       A certificate of good standing for the New York Appellate Division, First

Department and a certificate of admission to practice in the Court of Appeals , State of New York

are attached hereto.

        6.       1 am familiar with the Local Rules of the United States District Court for the

District of Massachusetts and agree to abide by them.

        I declare under penalty of perjury, pursuant to 28 U.S.C. § 1746, that the foregoing is true

and correct. Executed on March 12, 2010.

                                               By:
                                                     Anne M. Mangiardi




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                 ANNE MARIE MANGIARDI
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                                                    STATE OF NEW YORK
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                                                      CLERK'S OFFICE


                I, STUART M COHEN, Clerk of the Court of Appeals of the State of New York CERTIFY, that

                                             ANNE MARIE AMNGL4"I
was admitted to practice law in all of the courts of the State of New York at the Appellate Division of the Supreme Court, held at
New York, New York, on October 16, 2007, and that that name has been entered and appears in the Official Register ofAttorneys
and Counselors at Law in the State ofNew York.



                                                                            I have signed this certificate and affixed the seal of
                                                                            the Court ofAppeals at the City ofAlbany in the State
                                                                            of New York this 11 m day of March, 2010.




                                                                             Stuart M Cohen
                                                                             Clerk of the Court

                   I, JONATHAN LIPPM4N, Chief Judge of the Court of Appeals of the State of New York,
                    CERTIFY, that the certification of STUART M. COHEN, Clerk of the Court of Appeals,
                               is in proper farm and that it is entitled to full faith and credit.



Dated at Albany, NY,                                                         Jonathan Lippman
March 11, 2010                                                               Chief Judge
